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     Attorneys for Defendants and Counterclaimants
 8   YOUTUBE, LLC and GOOGLE LLC
 9                                UNITED STATES DISTRICT COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12   MARIA SCHNEIDER, UNIGLOBE                        )   CASE NO.: 3:20-cv-04423-JD
     ENTERTAINMENT, LLC, and AST                      )
13   PUBLISHING LTD., individually and on behalf      )   DECLARATION OF CHENYUAN
     of all others similarly situated,                )   ZHU IN SUPPORT OF YOUTUBE,
14                                                    )   LLC AND GOOGLE LLC’S
                                                      )   MOTION FOR SUMMARY
15                 Plaintiffs,                        )
                                                      )   JUDGMENT AS TO PLAINTIFF
16          v.                                        )   MARIA SCHNEIDER
                                                      )
17   YOUTUBE, LLC and GOOGLE LLC,                     )   Date:        October 13, 2022
                                                      )   Time:        10:00 am
18                 Defendants                         )   Courtroom:   11
                                                      )   Judge:       Hon. James Donato
19                                                    )
                                                      )
20                                                    )
     YOUTUBE, LLC and GOOGLE LLC,                     )
21                                                    )
                   Counterclaimants,                  )
22                                                    )
            v.                                        )
23                                                    )
                                                      )
24   PIRATE MONITOR LTD, PIRATE MONITOR               )
     LLC, and GÁBOR CSUPÓ,                            )
25                                                    )
                   Counterclaim Defendants.           )
26                                                    )
27

28
     DECLARATION OF CHENYUAN ZHU ISO                                   CASE NO. 3:20-CV-04423-JD
     YOUTUBE, LLC AND GOOGLE LLC’S MOTION
     FOR SUMMARY JUDGMENT AS TO PLAINTIFF
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 1          I, Chenyuan Zhu, declare as follows:

 2          1.      I am currently Product Manager for Content ID for Defendant YouTube, LLC

 3   (“YouTube”). I previously worked in and then led YouTube’s copyright operations team. I am

 4   familiar with YouTube’s practices regarding copyright operations. I have personal knowledge of

 5   the facts set forth herein and, if called as a witness, I could and would testify competently to them.

 6          2.      YouTube enables copyright holders to quickly and efficiently obtain the removal of

 7   allegedly infringing materials from the service, pursuant to the safe harbor provisions of the

 8   Digital Millennium Copyright Act (“DMCA”). Among other things, YouTube has designated an

 9   agent for receipt of DMCA notices, implemented a notice-and-takedown process that results in the

10   expeditious removal of material claimed to be infringing in a DMCA takedown notice, and

11   adopted and reasonably implemented a repeat infringer policy. Additionally, although I am not

12   aware of any court that has recognized any technology as a “standard technical measure” as that

13   term is defined in the DMCA, YouTube would accommodate and not interfere with any standard

14   technical measure, should any such measure qualify.

15          3.      YouTube has made huge investments in its DMCA compliance efforts. YouTube

16   has also invested hundreds of millions of dollars in cutting-edge technologies and operations to

17   assist copyright holders in protecting against the unauthorized use of their work on the service as

18   discussed in Paragraphs 4-6 below.

19          4.      YouTube has developed an Emmy Award-winning Content ID system, which

20   utilizes proprietary technology to enable eligible users to automatically identify use of their

21   copyright-protected audio or video works in videos on the service. When the system identifies

22   what it believes to be a video matching a copyrighted work, it enables the user to “claim” that

23   video, and (i) monetize it by sharing in the advertising revenue the video generates; (ii) block the

24   video from appearing on the service; or (iii) track views of the video.

25          5.      YouTube also offers a Content Verification Program and Copyright Match Tool to

26   copyright owners to assist them in identifying the use of their works on the service. YouTube’s

27   Content Verification Tool (“CVP”), which YouTube has offered for over a decade, enhances

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 1   copyright owners’ ability to search for videos on YouTube that may use their copyrighted content,

 2   and, if they so choose, to send YouTube takedown notices in accordance with the DMCA for

 3   content they contend infringes their copyrights. To use CVP, a copyright owner first enters

 4   keywords into a search box. The CVP tool then tries to match that search criteria with video titles,

 5   descriptions, tags, and other information associated with the video. If the CVP tool finds a video

 6   matching one of the keywords, the copyright owner can then choose whether to request removal of

 7   that video. Further, the tool enables the copyright holder to submit copyright takedown requests

 8   for up to 100 videos per submission. CVP is generally available to copyright owners who apply to

 9   use it, and who demonstrate a need for enhanced search and removal abilities through a history of

10   submitting complete and valid DMCA takedown requests.

11          6.      YouTube’s Copyright Match Tool uses aspects of the video-fingerprinting

12   technology that powers Content ID to help copyright claimants automatically detect videos that

13   they may wish to submit DMCA takedown notices for. The Copyright Match Tool is available to

14   any YouTube user who’s submitted a valid takedown notice through the webform. Once a

15   takedown notice is confirmed as valid, the Copyright Match Tool starts scanning YouTube

16   uploads for potential matches to the videos reported in the removal request. The tool surfaces these

17   potential matches to the claimant so they can decide what action to take next. For creators in the

18   YouTube Partner Program (YPP), or any channel that’s filled out the copyright management tools

19   application and shown a need for an advanced rights management tool, the Copyright Match Tool

20   will scan for reuploads of their videos on other YouTube channels. Creators who have access to

21   this feature of the Copyright Match Tool simply need to be the first to upload a video to YouTube

22   (they can upload as public, private, or unlisted). Users can choose to archive the match and leave

23   the video up, file a takedown request (with the option to ask YouTube to automatically prevent

24   copies), or contact the uploader through the service. As of December 2021, YouTube has made the

25   Copyright Match Tool available to more than 2,400,000 channels.

26          7.      By creating a YouTube account, users gain access to a host of YouTube services at

27   no charge, including video hosting, a global audience for their content, social networking and

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 1   analytics capabilities, and access to ground-breaking copyright management tools. In exchange for

 2   access to these free services and tools, a user must assent to YouTube’s Terms of Service. A true

 3   and correct copy of YouTube’s Terms of Service as they existed on October 3, 2012 and produced

 4   in this litigation stamped GOOG-SCHNDR-00034933 is attached as Exhibit 1. Plaintiff Maria

 5   Schneider could not have created a YouTube account or a channel on the service without

 6   accepting the Terms of Service.

 7          8.      Among other things, the Terms of Service include a provision under which users,

 8   “by submitting Content to YouTube,” grant YouTube “a worldwide, non-exclusive, royalty-free,

 9   sublicensable and transferable license to use, reproduce, distribute, prepare derivative works of,

10   display, and perform the Content in connection with the Service and YouTube’s (and its

11   successors’ and affiliates’) business, including without limitation for promoting and redistributing

12   part or all of the Service (and derivative works thereof) in any media formats and through any

13   media channels.” Ex. 1 § 6(C). Users also grant “each user of the Service a non-exclusive license

14   to access your Content through the Service, and to use, reproduce, distribute, display and perform

15   such Content as permitted through the functionality of the Service and under these Terms of

16   Service.” Id. The licensed “‘[c]ontent’ includes the text, software, scripts, graphics, photos,

17   sounds, music, videos, audiovisual combinations, interactive features and other materials [users]

18   may view on, access through, or contribute to the Service.” Id. § 2(A). These licenses endure until

19   a commercially reasonable time after the user removes the content they have supplied from the

20   service. Id. § 6(C). In addition, the Terms of Service contains a bilateral one-year contractual

21   limitations period requiring that any claims relating to the service be brought within one year of

22   accrual. Id. § 14. That section, entitled “Limitation on Legal Action,” provides: “YOU AND

23   YOUTUBE AGREE THAT ANY CAUSE OF ACTION ARISING OUT OF OR RELATED TO

24   THE SERVICES MUST COMMENCE WITHIN ONE (1) YEAR AFTER THE CAUSE OF

25   ACTION ACCRUES. OTHERWISE, SUCH CAUSE OF ACTION IS PERMANENTLY

26   BARRED.” Id. While the Terms of Service have been modified several times over the years,

27   materially identical provisions have existed in every subsequent version of the Terms of Service.

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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct to the best of my knowledge. Executed this 26th day of August

 3   2022, at Pacifica, California.

 4                                                               /s/ Chenyuan Zhu
                                                                 Chenyuan Zhu
 5

 6                                    ATTORNEY ATTESTATION
 7          I, David H. Kramer, am the ECF User whose ID and password are being used to file this
 8   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the concurrence
 9   in the filing of this document has been obtained from the signatory.
10                                                               /s/ David H. Kramer
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     DECLARATION OF CHENYUAN ZHU ISO
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     MARIA SCHNEIDER
